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       Exhibit "8"
       Case
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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY


AFTER II MOVIE, LLC,
BODYGUARD PRODUCTIONS, INC.,                      Case No.
HITMAN TWO PRODUCTIONS, INC.,
KILLING LINK DISTRIBUTION, LLC, LHF               COMPLAINT FOR COPYRIGHT
PRODUCTIONS, INC., MILLENNIUM                     INFRINGEMENT AND DEMAND
FUNDING, INC., MILLENNIUM IP, INC.,               FOR JURY TRIAL
MILLENNIUM MEDIA, INC., MON, LLC,
NIKOLA PRODUCTIONS, INC., OUTPOST
PRODUCTIONS, INC., RAMBO V
PRODUCTIONS, INC., SF FILMS, LLC,
VENICE PI, LLC,
VOLTAGE HOLDINGS, LLC, WONDER ONE,
LLC, and YAR PRODUCTIONS, INC.

                         Plaintiffs,
  v.

RCN TELECOM SERVICES, LLC; and
RCN TELECOM SERVICES OF
MASSACHUSETTS, LLC,

        Defendants.
      Case
        Case
           3:21-cv-15310
              3:23-mc-80037-LB
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infringement of the motion picture Ava at IP addresses assigned to Defendants from ARIN.

   106. For example, Plaintiffs’ agent sent over 300 Notices to Defendants concerning

infringement of the motion picture The Outpost Killer at IP addresses assigned to Defendants

from ARIN.

   107. Plaintiffs’ agent sent over 100 Notices to Defendants concerning observed infringements at

each of IP addresses 65.78.99.191, 207.172.202.107 and 209.94.139.49.

   108. Upon information and belief, other rightsholders had similar Notices sent to Defendants

concerning infringing activity at IP addresses assigned to Defendants from ARIN.

   109. Defendants failed to terminate the subscribers of the accounts associated with these IP

addresses or take any meaningful action in response to these Notices.

   110. Defendants often failed to even forward the Notices to their subscribers.

   111. Defendants continued to provide service to their subscribers despite knowledge that their

subscribers were using the service to engage and facilitate massive piracy of Plaintiffs’ copyright

protected Works.

   112. Plaintiffs’ counsel sent a letter to Defendant RCN Telecom Services, LLC detailing these

concerns and pointing to detailed examples of prolific piracy behavior by subscribers on Oct. 19, 2020.

See Exhibit “D”.

   113. Defendants completely ignored the letter and continued to provide service to even the

subscribers engaged in prolific piracy detailed in the letter.

   114. Defendants’ failure to terminate or take any meaningful action against their subscribers

resulted in a cascade of piracy of Plaintiffs’ Works.

F) Defendants Control the Conduct of Their Subscribers.

   115. Defendants can terminate the accounts of their subscribers at any time.



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